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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                      Protective Order

                   v.                                                            24 Cr. 542 (AS)

 SEAN COMBS,
   a/k/a “Puff Daddy,”
   a/k/a “P. Diddy,”
   a/k/a “Diddy,”
   a/k/a “PD,”
   a/k/a “Love,”

                            Defendant.



         Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

                                            Categories

         1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), as a

courtesy, or pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the

Government’s general obligation to produce exculpatory and impeachment material in criminal

cases, all of which will be referred to herein as “Disclosure Material.” The Government’s

Disclosure Material may include material that (i) affects the privacy and confidentiality of

individuals; (ii) would impede, if prematurely disclosed, the Government’s ongoing investigation

of uncharged individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated;

(iv) may be produced with more limited redactions than would otherwise be necessary; and (v)




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that is not authorized to be disclosed to the public or disclosed beyond that which is necessary for

the defense of this criminal case.

         2. Sealed Material. Certain of the Government’s Disclosure Material, referred to herein

as “Sealed Material,” contains information that identifies, or could lead to the identification of,

witnesses who may be subject to intimidation or obstruction, and whose lives, persons, and

property, as well as the lives, persons and property of loved ones, will be subject to risk of harm

absent the protective considerations set forth herein.

         3. Attorney’s Possession Only (“APO”) Material. Certain materials in this case raise a

particular risk of affecting the privacy or safety of victims or witnesses, or the confidentiality of

ongoing investigations. Disclosure Material produced by the Government to defense counsel that

is either (1) designated in whole or in part as “Attorney’s Possession Only” by the Government in

emails or communications to defense counsel, or (2) that includes a Bates or other label stating

“Attorney’s Possession Only” or “APO” shall be deemed “APO Material.” Any material

designated as APO Material shall also be deemed Sealed Material.

         4. Attorney’s Eyes Only (“AEO”) Material. Certain materials in this case raise a more

significant risk of affecting the privacy or safety of victims or witnesses, or the confidentiality of

ongoing investigations. Disclosure Material produced by the Government to the defense counsel

that is either (1) designated in whole or in part as “Attorney’s Eyes Only” by the Government in

emails or communications to defense counsel, or (2) that includes a Bates or other label stating

“Attorney’s Eyes Only” or “AEO” shall be deemed “AEO Material.” Any material designated as

AEO Material shall also be deemed Sealed Material.

         NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:




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                                     Disclosure and Treatment

         5. Disclosure Material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (“the defense”) other than as set forth herein, and shall be used

by the defense solely for purposes of defending against the charges in the above-captioned case,

including but not limited to preparation for trial and any sentencing, appeal, or collateral attack,

which was commenced within a year of the exhaustion of the defendant’s appellate rights,

involving the charges in the above-captioned case. The defense shall not post any Disclosure

Material that is not publicly available on the docket in the above-captioned case on any Internet

site or network site, including any social media site such as Facebook or Twitter, to which persons

other than the parties hereto have access, and shall not disclose any Disclosure Material to the

media.

         6. Sealed Material may be disclosed by defense counsel to:

                  a. The defendant, who may only review such material in the presence of Bureau

of Prisons (“BOP”) or law enforcement personnel, defense counsel, or any personnel for whose

conduct defense counsel is responsible;

                  b. Personnel for whose conduct defense counsel is responsible, i.e., personnel

employed by or retained by counsel, as needed for purposes of defending this action; and

                  c. Prospective witnesses for purposes of defending this action, provided that

defense counsel has reviewed this Order with such prospective witness and that such prospective

witness has been provided with a copy of this Order and has signed and dated Attachment A to

this Order, without further order of the Court, upon obtaining the signature on Attachment A of

the prospective witness (and the prospective witness's counsel, if Sealed Material is disclosed to

or discussed with such counsel), and provided that neither the prospective witness nor any counsel




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for the prospective witness is permitted to review, handle, or otherwise possess any Sealed

Material outside the presence of defense counsel or personnel for whose conduct defense counsel

is responsible. 1 Each time a prospective witness or their counsel signs and dates Attachment A,

defense counsel will promptly file Attachment A under seal and ex parte with the Court. In the

event either party wishes to attach any portion of the Sealed Material to public filings made with

the Court, defense counsel and/or the Government must either: (1) file the Sealed Material under

seal and indicate to the Court their position with regard to whether the Sealed Material should

remain under seal, such that the Government or defense counsel may then inform the Court of its

position with regard to sealing and the Court can decide whether the filed Sealed Material should

remain sealed; or (2) confer with the opposing party as to whether the Sealed Material should

remain under seal, such that upon agreement of the parties, such restriction may be lifted and the

material may be publicly filed without further order of the Court.

         7. APO Material received by defense counsel shall be maintained in a safe and secure

manner by defense counsel and any personnel for whose conduct defense counsel is responsible;

shall not be possessed by the defendant, except in the presence of the defendant’s counsel and any

personnel for whose conduct defense counsel is responsible; and shall not be disclosed in any form

by the defendant, his counsel, or any personnel for whose conduct defense counsel is responsible

except as set forth herein.

         8. AEO Material received by defense counsel shall be maintained on an attorney’s eyes

only basis, and the defense shall not share any AEO Material or the content of the AEO Material




1
  Personal identifying information of victims (names, contact information, dates of birth, other PII,
etc.) shall be redacted from any materials to be shared with personnel and prospective witnesses
pursuant to this paragraph.


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with any other persons, including the defendant, except for any personnel for whose conduct

defense counsel is responsible. All visual depictions, including any photograph, film, video,

picture, or image, of sexually explicit conduct or nudity, will be designated as AEO regardless of

whether it has been designated as such by the Government. 2 At the discretion of the Government,

certain AEO Material depicting sexually explicit conduct or nudity may be made available for in-

person inspection only. 3

                                           Other Provisions

         9. This Order does not prevent the disclosure of any Disclosure Material in any hearing

or trial held in this action, or to any judge or magistrate judge, for purposes of this action but,

except to the extent provided otherwise below, shall not be disclosed or used in any form in any

other civil litigation, arbitration, or other private or alternative dispute resolution. All filings should

comply with the privacy protection provisions of Fed. R. Crim. P. 49.1, this District’s Local Rules,

this District’s ECF Privacy Policy, 4 and the above provisions.

         10. The Government’s designation of material will be controlling absent contrary order of

the Court. The parties shall meet and confer regarding any dispute over such designations, after



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  This provision is limited as follows: such material located on the defendant’s devices or cloud
accounts shall be designated as “APO,” which the defendant may view under the following agreed
upon conditions: (1) the material is viewed by the defendant in the presence of defense counsel,
(2) on a device approved by the Government, (3) in an approved private room in the jail facility or
other facility approved by the Government, and (4) defense counsel ensures that such material will
be not be accessible or viewable by incarcerated individuals other than the defendant, visitors, or
others who are not part of the defense.
3

                                                                                         , these
materials will be made available for inspection only and not electronically produced. The
defendant may view            in the presence of defense counsel at the Daniel Patrick Moynihan
Courthouse, while monitored by law enforcement officials.
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    Accessible at https://www.nysd.uscourts.gov/sites/default/files/pdf/egovtact042005.pdf.


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which the defense may seek de-designation by the Court. The Government may authorize, in

writing, disclosure of Disclosure Material beyond that otherwise permitted by this Order without

further Order of this Court.

         11. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense intends to disclose Disclosure Material in advance of

such disclosure. All such persons shall be subject to the terms of this Order if they review such

material. Defense counsel shall maintain a record of what information has been disclosed to which

such persons, consistent with Paragraph 6(c) above.

         12. Except for Disclosure Material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all Disclosure Material,

including any ESI, within 30 days of the expiration of the period for direct appeal from any verdict

in the above-captioned case; the period of direct appeal from any order dismissing any of the

charges in the above-captioned case; and the granting of any motion made on behalf of the

Government dismissing any charges in the above-captioned case, whichever date is later, subject

to defense counsel’s obligation to retain client files under the Rules of Professional Conduct. If

Disclosure Material is provided to any personnel for whose conduct defense counsel is responsible

or prospective witnesses, defense counsel shall make reasonable efforts to seek the return or

destruction of such materials.




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                                     Retention of Jurisdiction

         13. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.


AGREED AND CONSENTED TO:

    DAMIAN WILLIAMS
    United States Attorney


by: _____________________________                       Date: October
                                                              _____________________
                                                                      4, 2024

    Meredith Foster
    Emily A. Johnson
    Madison Reddick Smyser
    Christy Slavik
    Mitzi Steiner
    Assistant United States Attorneys


                                                               October 4, 2024
    ___________________________                         Date: _____________________
    Marc Agnifilo, Esq.
    Teny Geragos, Esq.
    Counsel for Sean Combs



SO ORDERED:

Dated: New York, New York
       October ___, 2024

                                                        _________________________________
                                                        HON. ARUN SUBRAMANIAN
                                                        UNITED STATES DISTRICT JUDGE




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                              Attachment A to Protective Order
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             Printed Name                 Signature                      Date




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